            Case:
ILND 450 (Rev.         1:20-cv-03118
               04/29/2016) Judgment in a CivilDocument
                                              Action   #: 488 Filed: 03/11/25 Page 1 of 1 PageID #:25703

                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE
                                   NORTHERN DISTRICT OF ILLINOIS

John Fulton,

Plaintiff,
                                                          Case No. 20 C 3118
v.
                                                          Judge Joan H. Lefkow
Robert Bartik, John Zalatoris, James Breen, Robert
Girardi, Joseph Struck, Edward Winstead, and
Stephen Franko,

Defendants,

                                     JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):

               in favor of plaintiff John Fulton
               and against defendants Robert Bartik, John Zalatoris and James Breen
               in the amount of $60,000,000.00 in compensatory damages.
               Punitive damages are awarded in favor of plaintiff John Fulton and against defendant John
   Zalatoris in the amount of $12,500.00. Punitive damages are awarded in favor of plaintiff John Fulton and
against defendant James Breen in the amount of $12,500.00. Punitive damages are awarded in favor of plaintiff
John Fulton and against defendant Robert Bartik in the amount of $5,000.00.


                        which     includes       pre–judgment interest.
                                  does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.
        Plaintiff shall recover costs from defendants.


               in favor of defendants Robert Girardi, Joseph Struck, Edward Winstead, and Stephen Franko
               and against plaintiff John Fulton

        Defendants shall recover costs from plaintiffs.


               other:

This action was (check one):

   tried by a jury with Judge Joan H. Lefkow presiding, and the jury has rendered a verdict.
   tried by Judge         without a jury and the above decision was reached.
   decided by Judge .
Date: 3/11/2025                                      Thomas G. Bruton, Clerk of Court

                                                     Amanda Scherer, Deputy Clerk
